Case 3:22-cv-00131-SLH Document 1-11 Filed 08/11/22 Page 1 of 2




                EXHIBIT 10
           Case 3:22-cv-00131-SLH Document 1-11 Filed 08/11/22 Page 2 of 2
                                                                                           Exhibit 10


                                                                              May 6, 2022

BY MAIL ATTACHMENT
Gwen R. Acker Wood, PhD. Esq.
Acker Wood Intellectual Property Law LLC
4981 McKnight Road
P.O. Box 11096
Pittsburgh, Pennsylvania


               Re: “Tiger King Season 2” – Use of Molly Cramer’s Tattoo

Dear Ms. Wood,

       On behalf of our clients, Royal Goode Productions, we are writing in response to your letter,
dated April 29, 2022.

        We continue to disagree with your allegation that our clients’ use of the image of Ms.
Cramer’s tattoo is an infringement of your client’s copyright and are confident that there exists no
legal basis for an allegation of copyright infringement in this case.

        Given the above, we see no reason why any payment should be made to your client. If your
client does decide to pursue this matter through the courts, please inform them that we intend to
move for dismissal or summary judgment at the earliest date possible and that we will seek
attorney’s fees and costs from your client.

        This letter does not contain a complete statement of our clients' position in this or any other
matter, nor does it constitute a waiver of any of our clients' legal or equitable rights, all of which are
expressly reserved.

                                       Sincerely,




                                       Tony Doherty
                                       tdoherty@smithdehn.com
